






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00244-CV







Christopher Ologban and Ruth Ologban, Appellants



v.



Texas Department of Protective and Regulatory Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT


NO. FM006528, HONORABLE F. SCOTT MCCOWN, JUDGE PRESIDING







	On May 10, 2001, appellants Christopher and Ruth Ologban filed a notice of appeal. 
On July 7, 2001, after the district clerk informed this Court that appellants had not made
arrangements to pay for the record, this Court requested that appellants make payment arrangements
with the district clerk or the appeal would be dismissed for want of prosecution.  On October 9, this
Court had not received the clerk's record and this Court's Deputy Clerk telephoned appellants'
attorney inquiring about the status of the appeal.  The Clerk was informed by the attorney that a
motion to dismiss the appeal was being sent to this Court.  On December 11, this Court's Clerk's
office had not received a motion to dismiss the appeal and left a voice mail that requested appellant's
attorney to provide the Court with information regarding the status of the motion to dismiss or
payment arrangements for the clerk's record.  On December 13, this Court, by letter, requested
appellant's attorney to respond by December 27 regarding the status of the appeal or the appeal
would be dismissed for want of prosecution.  

	As the Court has not received a response, the appeal is dismissed for want of
prosecution.  



					__________________________________________

					David Puryear, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed for Want of Prosecution

Filed:   January 31, 2002

Do Not Publish


